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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                            U.S. EXHIBIT NO. 6
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                                               FEMA09-000353




         FEMA
 Federal Register Notice
 BiRing Code 9110-10-P

 DEPARTMENT OF HOMELAND SECURITY

 Federal Emergen.cy Management Agency

 [FEMA-1606-DR]

 Texas; Major Disaster and Related Determinations

 AGENCY: Federal Emergency Management Agency, Emergency Preparedness. and Response D~rectorate,
~Department of Homeland Seem-ity.

""~C~FION: Notice.

 SUMMARY: This is a notice of the Presidential declaration of a maj or disaster for the State of Texas (’FEMA-1606-
 DR), dated September’24, 2005, and related determinations.

 EFFECTIVE DATE: September 24, 2005.

 FOR FURTHER INFORMATION CONTACT: Magda Ruiz, Recovery Division; Federal Emergency Management
 Agency, Washington,. DC 20472, (202) 646-2705.

 SUPPLEMENTARY INFORMATION: Notice is hereby given that, in a letter dated September 24, 2005, the
 President declared a major disaster under the. anthority of the Robert T. Stafford Disaster Relief and Emergency
 Assistance Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act), as follows:

      I have determined that the damage in certain areas of the State.of Texas resulting from Hurricane Rita
      beginning on September 23, 2005, and continuing, is of sufficient severity and magnitude to warrant a
      major disaster declaration under the Robert T. Stafford Disaster Relief and Emergency.Assistance Act,
      42 U.S.C. §§ 5121-5206 (the Stafford Act). Therefore, I declare that such a major disaster exists in the
      State of Texas.

      In order to provide Federal assistance, you are hereby authorized to allocate from funds available for
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                                                 FEMA09-000354


       these purposes such amounts as you fmd necessary for Federal disaster assistance and administrative
       expens.es.                                ..

       You are authorized to provide Individual Assistance and assistance for debris removal and emergency
       protective measures (Categories A and B) under the Public Assistance program in the designated areas,.
       Hazard Mitigation throughout the Stat~, and any other forms of assistance under the Stafford Act you
       may deem appropriate subject to completion of Preliminary Damage Assessments (PDAs), unless you
       determine the incident is of such unusual severity and magnitude that PDAs are not required to
       determine the need for supplemental Federal assistance pursuant to 44 C.F.R: 206.33(d). Direct Federal
       assistance is authorized.

       Consistent.with the requirement that Federal assistance be supplemental; any Federal funds provided
       under the Stafford Act for Public Assistance, Hazard Mitigdtion and the Other Needs Assistance under
       the Stafford Act will be limited to 75 percent of the total eligible costs. For a period of up to 72 hours,
       you are authorized to fund a~sistance for debris removal and emergency protective measures, including
       direct Federal assistance, at 100 percent of the total eligible costs.

       Further, you are authorized to make changes to this declaration to the extent allowable under the
       Stafford Act.

 The time period prescribed, for the implementation of section 310(a), Priority to Certain Applications for Public
   ,iility and Public Housing Assistance, 42 U.S.C. 5153, shall be for
                                                                    . a period not to exceed six months after thedate
   ~.his declaration.                -

 The Federal Emergency Management Agency (FEMA) hereby gives notice that pursuant to the authority vested in
 the Acting Under Secretary for Emergency Preparedness and R~sponse, Department of Homeland Security, under
.Executive Order 12148, as amended, Alexander S. Wells, of FEMA is appointed to act as the Federal Coordinating
.Officer for this declared disaster.

 I do hereby determine the following areas of the State of Texas to have been affected adversely by this declared
 major disaster:

       The comities of Chambers, Galveston, Hardin, Jasper,Jefferson, Liberty, Newton, Orange, and Tyler
       for Individual Assistance.

       All 254 counties in the State of Texas for Public Assistance Categories A and B (debris removal and
       emergency protective measures), including direct Federal assistance, at 75 percent of the total eligible
       costs. For a period of up to 72 hours, assistance for debris removal and emergency protective measures,
       including direct Federal assistance, will be funded at 100 percent of the total eligible costs.

 Ail counties witl~in the State of Texas are eligible to.apply for assistance under the Hazard Mitigation Grant
 Program.

..... ~._.~te followhag Catalog of Federal Domestic Assistance Numbers (CFDA) are to be used for reporting a~d drawing
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                                                FEMA09-000355


 "...... ls: 97.030, Community Disaster Loans; 97.031, Cora Brow]i Fund Program; 97.032, Crisis Counseling; 97.033,
( 2ster       Legal. Services Program; 97.034; Disaster Unemployment Assistance ~UA); 97.046, Fire Management
 ¯ Assistance; 97.048, Individual and Household Housing; 97.049, Individual and Household Disaster Housing
    Operations; 97.050 Individual and Household .Program-Other Needs, 97.036, Public Assistance Grants; 97.039,
    Hazard Mitigation Grant Program.)

 lsl


 R. David Paulison,
 Acting Under Secretary, .
 Emergency Preparedness-and Response,
 Department of Homeland Security.

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                                               FEMA09-000356




         FEMA
Federal Register Notice
Billing Code 9110-10-P

DEPARTMENT OF HOMELAND SECURITY

Federal Emergency Management Agency.

[FEMA-1607-DR]

Louisiana; M~:j or Disaster andRelated Determinations

AGENCY: Federa! Emergency Management Agency, Emergency Preparedness and Response Directorate,
Department of Homeland Secm’ity.

          Notice.

SUMMARY: This is a notice of the Presidential declaratidn of a major disaster for the State ofLouisiana (FEMA’
1607-DR), dated September 24, 2005, and related determinations.

EFFECTIVE DATE: September 24, 2005.

FOR FI~THER INFORMATION CONTACT: Magda Ruiz, Recovery Division, Federal Emergency Management
Agency, Washington, DC 20472, (202) 646-2705.

SUPPLEMENTARY INFORMATION: Notice is hereby given that, in a letter dated September 24, 2005, the
President declared a major disaster under the authority of the Robert T. Stafford Disaster Relief and Emergency
Assistance Act, 42 U.S.C. §§ 5121-5206 (the Stafford Act), as follows:

      I have determined that the damage in certain areas of the State of Louisiana, resulting from Hurricane
      Rita beginning on September 23, 2005, and continuing, is of sufficient severity and magnitude to
      warrant a major disaster declaration under the Robert T. Stafford Disaster Relief and Emergency ....................
      Assistance Act, 42 U.S.C. §§ 5121-5206 (the Stafford AdO. Therefore, I declare that such a major.
      disaster exists in the State of Louisiana.

      In order to provide Federal assistance, you are hereby authorized to allocate from funds available for
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                                                  FEMA09-000357



       these purposes such amounts as you find necessary for Federal disaster assistance and administrative
       expenses.

       You are authorized to provide Individual Assistance and assistance for debris removal and emergency
       protective measures (Categories A and B) under the Public Assistance program in the designated areas,
      ¯ Hazard M~tigatio.n throughout the State, and any other forms of assistance under the Stafford Act you
       may deem appropriate subject.to completion of.Preliminary Damage Assessments @DAs), unless you
       determine the incident is of such unusual severity and magnitude that PDAs are not required to
       determine the need for supplemental Federal assistance pursuant to 44 C.F.R. 206.33(d). Direct Federal
       assistance is authorized.

       Consistent with the requirement that Federal assistance be supplemental, any Federal funds provided
       under the Stafford Act for Public Assistance, Hazard Mitigation, and the Other Needs Assistance under
       the Stafford Act will be limited to 75 percent of the total eligible costs. For a 34-day period, you are
       authorized to fund assistance for debris removal and emergency protective measures, including direct
       Federal assistance, at 100 perdent of the total eligible costs.

       Further, you are authorized to make changes to this declaration to the extent allowable under the
       StaffOrd Act.

.... .The time period prescribed for the implementation of section 310(a), Priority to Certain Apphc~tions for Ptibhc
       iility and Public Housing Assistance, 42 U.S.C. 5153, shall be for a period not to exceed six months after the date
       ~his declaration.

  The Federal Emergency Management Agency (FEMA.) hereby gives notice that pursuant to the authority vested in
  the Acting Under Secretary for Emergency Preparedness and Response, Department of Homelan~l Security, under.
  Executive Order 12148, as amended, Vice Admiral Thad Allen, of the United States Coast Guard is appointed to act
  as the Federal Coordinating Officer for tlfis declared disaster.

 I do hereby determine the following, areas of the State of Louisiana to have been affected adversely by this decl~ed
 major disaster:

        The parishes of Cameron, Calcasieu, Beauregard, Vermilion, and Jefferson Davis for Individual
        Assistance.

       All parishes in the State of.Louisiana for Public Assistance Categories A and B (debris removal and
       emergency protective meas.ures), including direct Federal assistance, at 75 percent Federal funding of
       total eligible costs. For a 34-day period, assistance for debris removal and emergency protective
       measures, inclu .ding direct Federal assistance, will be provided at 100 percent of the total eligible cost~.

       All parishes within the State of Lonisiana are eligible to apply for assistance under the Hazard
       Mitigation Grant Progrmn.

’ "x~fie. following Catalog of Federal Domestic Assistance Nm~abers (CFDA) are to be used for reporting and drawing
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                                              FEMA09-000358


 fimds: 9.7.030, Community Disaster Loans; 97.031, Cora Brown Fund Program; 97.032, Crisis Comaseling; 97.033,
  .,)isaster Legal Services Program; 97.034, Disaster Unemployment Assistance (DUA); 97.046, Fire Management
-Assistance; 97.048; Individual and Hbu.sehold Housing; 97.049, Individual and Household Disaster Housing
 Operations; 97.0SOIndividual and.Household Program-Other Needs, 97.036, Public Assistance Grants; 97.039;
 Hazard Mitigation Grant Program.)

Id


R. David Paulison,
Acting Under Secretary,
Emergency Prepare.dness and Response,
Department 0fHomeland Securityl

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